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  DISTRICT COURT, WELD COUNTY, COLORADO

  Court Address:
  915 10th Street
  PO Box 2038
  Greeley, CO 80632

  Plaintiff: FRANCISCA CANO

  v.

  Defendant: JEREMIAH I. BROWNING, an individual,
  and ARIZONA AUTOMOBILE INSURANCE, a foreign                      COURT USE ONLY
  corporation

  Attorneys for Defendant, Arizona Automobile Insurance       Case Number: 2018CV30037
  Company:
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  Michael T. Sullivan, Esq., #44657
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  and mts@tucker-holmes.com

                         DEFENDANT ARIZONA’S STATUS UPDATE


       The Defendant, Arizona Automobile Insurance Company, through its attorneys, Tucker
 Holmes, P.C. submits the following status update:

       1. On May 15, 2018, Defendant Arizona and Plaintiff Cano submitted a proposed case
          management order, which requested that the Court dispense with the case management
          conference.

       2. On May 15, 2018, Defendant Browning filed a notice of settlement. The Court entered
          an order requiring the parties to file a stipulated motion to dismiss by June 14.

       3. On May 16, 2018, the Court entered an order vacating the May 22, 2018 case
          management conference, citing the fact that the parties had reached a settlement.

       4. While Defendant Browning and Plaintiff have reached a settlement, Defendant Arizona
          and Plaintiff have not reached a settlement. Accordingly, Defendant Arizona wanted to


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        clarify any apparent confusion relative to the Notice of Settlement, and the Court’s May
        16, 2018 Order.

    5. Consequently, Defendant Arizona requests that the Court enter the case management
       order submitted by it and Plaintiff.

    6. If the Court wishes to conduct a case management conference, Defendant Arizona
       requests that the Court re-set or reinstate the May 22, 2018 Case Management
       Conference that was vacated this morning.

        DATED: May 16, 2018

                                             Respectfully submitted,
                                             The duly signed original held in the file located at
                                             Tucker Holmes, P.C.

                                       By:     /s/ Michael T. Sullivan
                                             Justin H. Zouski, Esq., #41726
                                             Michael T. Sullivan, Esq., 44657
                                             Attorneys for Defendant, Arizona Automobile
                                             Insurance Company


                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing DEFENDANT ARIZONA’S
 STATUS UPDATE was Filed and Served Electronically via Colorado Courts E-Filing, the duly
 signed original held in the file located at Tucker Holmes, P.C., on May 16, 2018, copies
 addressed to:

 DezaRae D. LaCrue, Esq.
 Jennifer Torres, Esq.
 Franklin D. Azar & Associates, P.C.
 14426 E. Evans Avenue
 Aurora, CO 80014-1474

                                             The duly signed original held in the file located at
                                             Tucker Holmes, P.C.

                                              /s/ Karin Lewis
                                             Karin Lewis




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